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                      UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

ELAINE STEWART,                                     )
Plaintiff,                                          )
                                                    )
        v.                                          )
                                                    )
LINCOLN NATIONAL LIFE                               )
INSURANCE COMPANY,                                  )
Defendant.                                          )

                                           COMPLAINT
       COMES NOW Plaintiff, Elaine Stewart, and for her claims and causes of action against

 Defendant, Lincoln National Life Insurance Company, states:

                                             PARTIES

1. Elaine Stewart (“Stewart”) is a resident and citizen of the State of Kansas.

2. Lincoln National Life Insurance Company (“Lincoln”) is an out of state insurance company

   authorized to do business in the State of Kansas.

                                 JURISDICTION AND VENUE

3. Stewart brings her claim pursuant to the Employee Retirement Income Security Act

   (“ERISA”) and 29 U.S.C. § 1001 et seq.

4. This dispute is governed by a welfare benefits plan and its policy documents, as well as

   applicable federal law regarding employer provided benefits. 29 U.S.C. § 1132(e)(1).

5. This Court also has subject matter jurisdiction pursuant to the general jurisdictional statute

   for civil actions arising under federal law. 28 U.S.C. § 1331.

6. Venue lies in the District of Kansas under 29 U.S.C. § 1132(e)(2), as the breach occurred in

   this district, and because the welfare benefits plan is administered in this district.

7. Venue is also proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the events

   and/or omissions giving rise to this action occurred within this judicial district.
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                             INFORMATION REGARDING TRIAL

8. No jury trial is allowed under ERISA law.

                                    STATEMENTS OF FACT

9. At all times relevant, IPL USA, Inc. (“IPL”) employed Stewart.

10. IPL employed Stewart as a molding packer. On February 28, 2018, as a condition of her

   employment, Stewart was required to undergo a physical exam that involved, among other

   demands, lifting 65 pounds.

11. Stewart’s occupation involved a range of duties, including carrying boxes, occasional lifting

   of 65 pounds, frequent carrying of up to 50 pounds, overhead reaching, stooping, and

   crouching.

12. The Dictionary of Occupational Titles states that the occupation of Packer is situated at the

   medium exertional level.

13. IPL sponsored a group welfare benefits plan for its participating employees (“Plan”).

14. The Plan constitutes an employee welfare benefit plan as defined by 29 U.S.C. § 1002(1).

15. The Plan offered long-term disability (“LTD”) benefits.

16. At all relevant times, Stewart has been a Plan participant and covered person.

17. IPL is the administrator of the Plan.

18. IPL delegated to Lincoln the function of issuing LTD benefit claim determinations.

19. Lincoln’s group insurance policy (“Policy”) articulates the conditions that covered Plan

   participants must satisfy to receive LTD benefits.

20. The Policy defines Total Disability or Totally Disabled as:




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21. The Policy defines Own Occupation or Regular Occupation as:




22. The Policy defines Main Duties or Material and Substantial Duties as:




23. In November 2018, Stewart was assaulted by a co-worker. Stewart filed a work injury report.

24. Thereafter, Stewart experienced pain and muscle spasms in and around her spine.

25. On November 9, 2018, Stewart saw Ramon Nichols, MD at Corporate Care. He opined that

   she should lift 15 pounds or less, should push or pull 20 pounds or less, and should not work

   above the head level.

26. Stewart experienced further injury as a result of a co-worker yanking Stewart’s arm above

   her head.


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27. As a result of her deficits, Stewart temporarily transitioned to an accommodated light duty

   position with IPL.

28. On November 19, 2018, Stewart was evaluated for physical therapy. Abnormal findings were

   noted in posture, in her cervical spine, her thoracic spine, and in her shoulders. Physical

   therapy was recommended, which Stewart properly attended.

29. On December 3 and December 17, 2018, Stewart again saw Dr. Nichols. He opined Stewart

   should not lift more than 15 pounds, should not push/pull more than 20 pounds, and should

   not work at or above the head level. Stewart continued physical therapy in December 2018.

30. On January 14, 2019, Stewart saw Joseph Galate, MD on referral. She reported pain in her

   shoulder area. On exam, spasm in the upper right trapezius, levator scapula, rhomboids, and

   latissimus dorsi were noted. Dr. Galate opined that Stewart should not engage in repetitive

   bending, twisting, or lifting and should not lift more than 15 pounds. He opined that she

   should not perform overhead activities and should not push or pull more than 25 pounds.

31. January 22, 2019 MRI of the thoracic spine revealed moderate disc bulging and multiple

   levels of degeneration:




32. A February 28, 2019 MRI of the cervical spine revealed mild changes at multiple levels:




33. By March 7, 2019, IPL no longer would accommodate Stewart’s limitations and restrictions.

   As a result, she ceased working and became Totally Disabled.



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34. Stewart applied for LTD benefits with Lincoln.

35. Stewart applied for benefits with the Social Security Administration.

36. On January 28, February 18, February 27, March 4, May 24, June 1, July 1, July 22, and

   August 13, 2019, Stewart again saw Dr. Galate. She reported pain after work conditioning.

   On exam, intermittent paresthesia was noted in the right scapulothoracic region. Thoracic

   disc bulge and thoracic sprain were assessed. Imaging of the cervical spine showed

   multilevel degeneration and disc bulge with stenosis at C6-C7.

37. Dr. Galate generally opined that Stewart should not engage in repetitive bending, twisting, or

   lifting; should not lift more than 10 pounds; should not perform overhead activities; and

   should not push or pull more than 25 pounds. Dr. Galate also administered trigger point

   injections.

38. Stewart underwent considerable physical therapy and work conditioning. By her providers’

   accounts and by her own reports, she gave good effort and made some improvement in her

   ability to lift. Stewart attended physical therapy regularly and as recommended by

   physicians, including multiple appointments on a weekly basis throughout the summer and

   fall of 2019.

39. On August 29, 2019, Stewart reported to her physical therapist that she had some

   improvement but suffered from recent left upper trap discomfort. Stewart questioned her

   ability to perform a full shift at work. She attempted to lift 65 pounds three times and 25

   pounds 65 times. However, the demands of physical therapy exacerbated her pain.

40. On September 3, 2019, Stewart reported to Dr. Galate that she experienced neck and mid

   back pain and stiffness after work conditioning. On exam, she exhibited numbness in her

   right scapulothoracic region. Upon review of imaging, Dr. Galate opined that Stewart should



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   be limited to lifting, pushing, and pulling 20 pounds. He also opined against overhead

   reaching and repetitive bending, twisting, and lifting.

41. On Stewart continued physical therapy throughout September and October 2019. On October

   7, 2019, physical therapy exam findings revealed tenderness to palpitation at the inferior

   angle of the right scapula, in the body of the left scapula, and in her lower back. She

   expressed concerns over her ability to perform repeated bending any significant lifting.

   When performing physical therapy, lifting was restricted to 15 pounds at ten inches as a

   result of complaints resulting from the previous week’s therapy. A summary of goals stated:




42. On October 9, 2019, Dr. Galate noted that Stewart had attended 35 physical therapy visits.

   Remarkably, she had just one cancelation. He expressed some doubt that she would be able

   to satisfy her job’s lifting requirement. He continued work limitations against repetitive

   bending, twisting, or lifting; against lifting exceeding 20 pounds; against overhead activities;

   and against pushing or pulling greater than 25 pounds.

43. On October 30, 2019, Stewart complained to Dr. Galate of a burning sensation in her

   tailbone, as well as intermittent pins and needles down the backs of her arms and legs.

   Intermittent paresthesia was noted on exam in her right scapulothoracic region. Dr. Galate

   noted that her occupation showed lifting up to 100 pounds. Work limitations included no

   repetitive bending, twisting, or lifting; no lifting exceeding 20 pounds; no overhead

   activities; and no pushing or pulling greater than 25 pounds.

44. On Stewart’s follow up forms for Dr. Galate’s office, she reported headaches and increased

   blood pressure as a result of trigger point injections. Stewart sought treatment from a family

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   medicine physician to treat that condition.

45. On December 11, 2019, Stewart was evaluated by Daniel Zimmerman, MD. She reported

   pain and discomfort related to her thoracic spine. On exam, she exhibited tenderness from T2

   to T10 in palpation over the thoracic paraspinous musculature bilaterally. Thoracic range of

   motion was reduced. Dr. Zimmerman took x-rays, which revealed multilevel osteoarthritic

   change (worst at T6-T7 and T9-T10 on the right side). Stewart explained to Dr. Zimmerman

   that physical therapy and work conditioning had intensified her pain and discomfort. Dr.

   Zimmerman recommended continued treatment of her pain, including anti-inflammatory

   medication and injections.

46. On December 17, 2019, Dr. Bailey recommended a lumbar MRI. He concluded that

   Stewart’s cervicothoracic spine impairment “has reached an endpoint.” He also found that

   Stewart suffered from SI joint dysfunction and might benefit from injections. Dr. Bailey later

   opined that Stewart could work on a “medium light duty status.”

47. On February 5, February 13, March 3, and June 5, 2020, Stewart underwent lumbar trigger

   point injections with Daniel Bruning, MD.

48. On June 15, 2020, longtime Lincoln employee Faye Mize, RN offered her opinion as to

   Stewart’s functional capacity. She concluded that Stewart’s medical records did not support

   any level of functional impairment. RN Mize’s did not articulate why she rejected physician

   opinions finding that Stewart was limited in her ability to lift, carry, push, pull, bend, reach,

   and engage in repetitive activities.

49. On June 25, 2020, Lincoln sought an opinion from Robert J. Cirincione, MD. He did not

   have access to Stewart’s complete medical records. Based on the sample that he received, he

   opined that Stewart did not suffer from any functional impairment. He also opined that



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   Stewart did not require any additional treatment.

50. On June 30, 2020, Lincoln issued an initial decision denying Stewart’s LTD claim. Lincoln

   cited to the opinion of Dr. Cirincione and concluded that “the medical records do not support

   any level of functional impairment.” The letter incorrectly stated that Stewart’s “clinical

   examinations have been normal.”

51. On July 13, 2020, Stewart saw Michael J. Poppa, DO. Exam findings were abnormal in

   multiple domains. Dr. Poppa assessed lumbar radicular syndrome. He opined that Stewart

   should not lift, push, pull or carry more than 25 pounds on an occasional basis. He limited

   lifting to knee height through chest height on an occasional basis. Dr. Poppa also opined that

   Stewart should alternated between seated and standing positions.

52. On July 28, 2020, Stewart saw Audrey Lasley, FNP. She reported swelling in her ankles

   bilaterally. Exam revealed non-pitting edema in her lower extremities. Stewart noted some

   improvement in her back pain, but it remained an actively assessed condition.

53. On September 22, 2020, Stewart saw Nicole Hamilton, NP-C. Stewart reported back pain.

   On exam, range of motion in the back was limited due to pain. A Toradol injection was

   administered, and Meloxicam was prescribed.

54. On October 6, 2020, Stewart saw NP Lasley. She complained of headaches occurring every

   other day. Pitting edema was noted in her lower extremities. On October 20, 2020, trace

   edema was noted on exam.

55. On November 5, 2020, Stewart initiated the appeals process with Lincoln. On November 12,

   2020, Lincoln acknowledged receipt of her appeal.

56. On December 17, 2020, Stewart saw NP Lasley. She complained of medication side effects.

   NP Lasley stopped Chlorithalidone and started Baclofen. NP Lasley prepared a short



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   narrative limiting Stewart to sedentary work activity.

57. On January 4, 2021, Lincoln allowed Stewart through February 1, 2021 to provide additional

   evidence.

58. On January 12 and January 28, 2021, Stewart saw Charles F. Harvey, MD for a neurosurgery

   consultation. Dr. Harvey opined that Stewart should limit repetitive motions and lifting to no

   more than 15-20 pounds

59. On January 29, 2021, Stewart appealed Lincoln’s decision denying her claim to LTD

   benefits. Stewart’s appeal contained additional evidence and argument.

60. Stewart’s appeal also contained requests that Lincoln included a request for information

   about the third-party organizations responsible for evidence from medical consultants, as

   well as those consultants’ curriculum vitae.

61. By February 4, 2021, Lincoln confirmed receipt of Stewart’s appeal evidence and indicated

   that the claim was under peer review.

62. On February 22, 2021, Stewart provided to Lincoln her updated records from Dr. Harvey.

63. On March 8, 2021, Lincoln issued a decision upholding its initial denial.

64. In its denial, Lincoln characterized Stewart’s occupation as Blow Molding Machine

   Operator, a light exertional occupation.

65. In its denial, Lincoln summarized in two sentences the evidence submitted by Stewart with

   her appeal.

66. In its denial, Lincoln relied on the February 19, 2021 opinion of Solomon Rojhani, MD. Dr.

   Rojhani acknowledged Stewart’s “clinical findings of pain” but opined that Stewart did not

   suffer from even a single restriction.

67. In its denial letter, Lincoln inaccurately stated that it provided a copy of Dr. Rojhani’s report



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   to Stewart.

68. Lincoln hired Dr. Rojhani through one of its regular medical consultant vendors with which

   it has a longstanding business arrangement (Exam Coordinators Network, a division of

   Genex Services, LLC).

69. Stewart has exhausted administrative remedies.

70. Stewart remains Totally Disabled as defined the Policy.

                              CAUSES OF ACTION
                                    COUNT I
        29 U.S.C. § 1132(a)(1)(B) – WRONGFUL DENIAL OF BENEFITS

71. Stewart realleges the preceding paragraphs as if fully set forth herein.

72. Stewart is entitled to all unpaid and accrued LTD benefits, as Lincoln:

        a. Made an unfavorable decision without substantial evidence;

        b. Failed to properly consider each of Stewart’s medical impairments and resulting
           limitations;

        c. Mischaracterized medical records and opinions;

        d. Mischaracterized Stewart’s complaints, symptoms, medical conditions, abilities, and
           functional limitations; and

        e. Issued an unfavorable decision that was arbitrary and capricious.

73. Pursuant to 29 U.S.C. § 1132(a)(1)(b), Stewart is entitled to an award of actual damages for

   losses suffered.

74. Pursuant to 29 U.S.C. § 1132(g), judgment may include compensation for a beneficiary’s

   attorney’s fees, costs, and prejudgment interest.

75. Lincoln has not satisfied its obligation to pay Stewart LTD benefits.

76. WHEREFORE, pursuant to 29 U.S.C. § 1132(a)(1)(B) and 29 U.S.C. § 1132(g), Stewart

   prays for judgment against Lincoln for unpaid LTD benefits, attorney’s fees, costs, and

   prejudgment interest.

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                                     COUNT II
            29 U.S.C. § 1132(a)(3) – BREACH OF FIDUCIARY DUTY

77. Stewart realleges the preceding paragraphs as if fully set forth herein.

78. Under 29 U.S.C. § 1002(21)(A), a fiduciary is one who:

        “exercises any discretionary authority or discretionary control respecting
        management of such plan or exercises any authority or control respecting
        management or disposition of its assets, (ii) he renders investment advice for
        a fee or other compensation, direct or indirect, with respect to any moneys or
        other property of such plan, or has any authority or responsibility to do so, or
        (iii) he has any discretionary authority or discretionary responsibility in the
        administration of such plan.”
79. 29 U.S.C. § 1104(a)(1)(A) describes the fiduciary standard of care:

        “a fiduciary shall discharge his duties with respect to a plan solely in the
        interest of the participants and beneficiaries and—for the exclusive purpose
        of: (i) providing benefits to participants and their beneficiaries; and (ii)
        defraying reasonable expenses of administering the plan.”

80. As the Plan’s designated claims administrator and entity exercising discretion in claims

   administration, Lincoln is a fiduciary.

81. Stewart participated in and benefitted from the Plan as previously indicated.

82. As the payor of benefits and the entity responsible for benefits determinations

   Lincoln operates under an inherent structural conflict of interest.

83. A higher than marketplace quality standard, as set forth in Metropolitan Life Ins. Co. v.

   Glenn, 554 U.S. 105, 128 (2008) governs Lincoln’s actions as a fiduciary.

84. In reducing Stewart’s appeal evidence and argument to two sentences, Lincoln breached its

   fiduciary duty to behave as a reasonable claims administrator obligated to provide Stewart a

   full and fair review.

85. In failing to consider and evaluate Stewart’s arguments regarding the nature and demands of

   her Regular Occupation as a Packer, Lincoln breached its fiduciary duty. Lincoln’s denial

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   letter did not acknowledge or contain a rationale for dismissing over three pages of argument

   as to why her occupation was a Packer rather than Blow Molding Machine Operator.

86. In failing to adequately apply the Policy’s applicable provisions, including each

   component of the definitions of “Total Disability,” “Regular Occupation,” and

   “Material Duties,” Lincoln breached its fiduciary duties.

87. Lincoln’s review was inconsistent with its own guidelines and procedures. Its claims

   handlers did not comply with documented instructions involving the administration of

   disability claims, including its procedures involving medical and vocational

   consultants. In failing to comply with its internal guidelines and claims processing

   procedures, Lincoln breached its fiduciary duties.

88. Lincoln did not compensate and use its medical and vocational consultants for the exclusive

   purpose of providing benefits to Plan participants. Nor did it do so for the purpose of

   defraying reasonable expenses in administering the Plan. Rather, Lincoln contracted with

   these vendors and consultants for the purpose of denying benefits, compensating them at

   rates that did not comport with its duty to defray reasonable expenses. This conduct is

   indicative of a breach of Lincoln’s fiduciary duties.

89. Lincoln breached its fiduciary duties by automatically accepting the findings of reports

   provided by its paid reviewers – a systematic practice in its claim administration. This

   includes the report of Dr. Cirincione, whose conclusions have been criticized in multiple

   ERISA disability federal district court actions, as well as the report of Dr. Rojhani.

90. Lincoln breached its fiduciary duty in ignoring Stewart’s requests that Lincoln identify the

   third-party organizations responsible for evidence from medical consultants, as well as those

   consultants’ curriculum vitae and any preferred reports.



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91. Lincoln denied Stewart’s LTD benefits for the purpose of elevating its financial interests. In

    doing so, it breached its fiduciary duties.

92. Lincoln failed to discharge its duties solely in the interests of its participants and

    beneficiaries. It acted with both a conflict of interest and breached its fiduciary duty to

    both Stewart and the Plan’s participants and beneficiaries generally.

93. Lincoln’s repeated improper conduct demonstrates that ordinary relief under §

    1132(a)(1)(B) is not an adequate remedy.

94. Lincoln’s violations of regulations alone allow Stewart the right to pursue any remedy

    under Section 502(a) of ERISA, including § 1132(a)(3). 29 C.F.R. § 2560.503-1(l)(2)(i).

95. Lincoln’s violations of federal regulation also subject its decision to de novo review.

96. WHEREFORE, pursuant to 29 U.S.C. § 1132(a)(3), § 1109, and § 1132(a)(2), Stewart

    prays for an order that Lincoln retrain its employees consistent with ERISA fiduciary

    obligations and federal regulations; for reformation of its services agreement with the

    plan administrator consistent with ERISA fiduciary obligations and federal regulations;

    for an injunction preventing further unlawful acts by Lincoln in its fiduciary capacity;

    for an equitable accounting of benefits that Lincoln has withheld; for the disgorgement

    of profits enjoyed by Lincoln in withholding benefits; for restitution under a theory of

    surcharge; for the Court’s imposition of a constructive trust; for an award of attorney

    fees; for an equitable order prohibiting Lincoln’s use of Exam Coordinators Network,

    Genex Services, LLC, and other partial medical consultant entities; for an equitable

    order removing Lincoln as the administrator of claims; and for further relief as the Court

    deems just.

                                    TRIAL LOCATION



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97. Trial is to be held in Kansas City, Kansas.

                                  Respectfully submitted,

                                  BURNETTDRISKILL, LLC

                                By: /s/ Derrick A. Pearce
                                  Derrick A. Pearce, Mo. # 42793
                                  Kyle H. Sciolaro, Kan. # 24991
                                  103 W 26th Ave., Ste. 290
                                  North Kansas City, MO 64116
                                  P: 816.781.4836
                                  F: 816.792.3634
                                  dpearce@burnettdriskill.com
                                  ksciolaro@burnettdriskill.com
                                  ATTORNEYS FOR PLAINTIFF




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